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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


NASSER AL-AULAQI,

                Plaintiff,
                                                           No. 10-cv._____
       v.

BARACK H. OBAMA, et al.,

                Defendants.



            PLAINTIFF’S MOTION FOR A PRELIMINARY INJUNCTION

             Pursuant to Fed. R. Civ. P. 65(a), Plaintiff Nasser Al-Aulaqi moves for the

issuance of a preliminary injunction (1) declaring that, outside of armed conflict, the

Constitution prohibits Defendants from carrying out the targeted killing of U.S. citizens,

including Plaintiff’s son, except in circumstances in which they present concrete,

specific, and imminent threats to life or physical safety, and there are no means other than

lethal force that could reasonably be employed to neutralize the threats; (2) declaring that,

outside of armed conflict, treaty and customary international law prohibit Defendants

from carrying out the targeted killing of individuals, including Plaintiff’s son, except in

circumstances in which they present concrete, specific, and imminent threats to life or

physical safety, and there are no means other than lethal force that could reasonably be

employed to neutralize the threats; and (3) prohibiting Defendants from intentionally

killing U.S. citizen Anwar Al-Aulaqi unless he is found to present a concrete, specific,

and imminent threat to life or physical safety, and there are no means other than lethal

force that could reasonably be employed to neutralize the threat; or, in the alternative, (4)
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ordering the Defendants to disclose the criteria that are used in determining whether the

government will carry out the targeted killing of a U.S. citizen.

       The grounds for this motion are that Plaintiff has a substantial probability of

success on the merits of his claim that the executive’s asserted authority to carry out

“targeted killings” of U.S. citizens suspected of terrorism far from any field of armed

conflict violates the Fourth and Fifth Amendments to the United States Constitution and

is contrary to treaty and customary international law; that absent immediate relief,

Plaintiff will suffer irreparable harm; that the requested relief will not injure Defendants;

and that the public interest supports granting the requested relief.

       In support of this application, Plaintiff respectfully refers the Court to the

Complaint, the Memorandum in Support of Plaintiff’s Motion for Preliminary Injunction,

the Declaration of Nasser Al-Aulaqi, and the Declaration of Ben Wizner.

       A proposed order is attached.

                                       Respectfully submitted,

                                        /s/ Arthur B. Spitzer
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August 30, 2010




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